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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

                                                    MDL No. 2875
      IN RE: VALSARTAN, LOSARTAN,
      AND IRBESARTAN PRODUCTS                       Honorable Robert B. Kugler,
      LIABILITY LITIGATION                          District Court Judge


      This Document Relates to All Actions



                STIPULATIONS IN LIEU OF MOTIONS IN LIMINE

          MSP Recovery Claims, Series, LLC (“MSP”) and the TPP Trial Defendants 1

  (collectively, the “TPP Trial Parties”), by their undersigned counsel, submit these

  stipulations in lieu of certain motions in limine, as follows:

          WHEREAS, the Parties are scheduled to commence a trial (the “TPP Trial”)

  on March 18, 2024, trying certain claims alleged by MSP, individually and on behalf

  of four third-party payor subclasses (the “TPP Trial Classes”);

          WHEREAS, the Parties have been meeting and conferring in an effort to

  narrow their evidentiary disputes and the number of motions in limine to be



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         The “TPP Trial Defendants” or “Defendants” are: (i) Zhejiang Huahai
  Pharmaceutical Co., Ltd., Huahai U.S., Inc., Prinston Pharmaceutical Inc., and Solco
  Healthcare U.S., LLC (collectively, “ZHP”); (ii) Teva Pharmaceuticals USA, Inc.,
  Teva Pharmaceutical Industries Ltd., Actavis LLC, and Actavis Pharma, Inc.
  (collectively, “Teva”); and (iii) Torrent Pharmaceuticals Ltd. and Torrent Pharma,
  Inc. (collectively, “Torrent”).


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  presented to the Court for rulings;

        WHEREAS, the Parties have prepared this Stipulation to memorialize the

  evidentiary limitations on which they have reached agreement, which are limited

  solely to the TPP Trial and are not binding and do not have precedential or law of

  the case effect with respect to any future trial proceeding;

        WHEREAS, this Stipulation is based upon the anticipated course of

  proceedings and is submitted in lieu of rulings by the Court on contested motions in

  limine; and

        WHEREAS, this Stipulation is subject to being revisited by the parties or by

  the Court in the same manner as a ruling on a contested motion in limine in the event

  of unexpected events at trial (e.g. if a party “opens the door” to a matter previously

  stipulated to be excluded);

        NOW THEREFORE, incorporating the foregoing recitals and subject to the

  Court’s consideration and approval, the Parties hereby stipulate to the following

  restrictions on the introduction of evidence at the TPP Trial, in the same manner as

  if the Court had entered the following stipulated restrictions as rulings on contested

  motions in limine.

        1.      Pejorative references to the Defendants’ (or their employees’) foreign

  nationality, including but not limited to evidence, argument or references with no

  substantive purpose regarding the Chinese, Indian, or Israeli governments,



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  communism or the communist party, Middle East conflicts and Wuhan, China, are

  excluded. This stipulation does not exclude relevant factual references (e.g. noting

  that a document is translated from Chinese).

        2.     Evidence, testimony, argument, or references regarding losartan or

  irbesartan API or FD products are excluded for the purpose of suggesting or inferring

  or refuting liability and/or a failure to comply with CGMPs for the at-issue valsartan

  API or FD products. This stipulation does not encompass the July 27, 2017 ZHP

  email and related documents. This stipulation also does not encompass incidental

  references to losartan or irbesartan.

        3.     Evidence, testimony, argument, or references regarding opioids

  products, opioids claims, or opioids lawsuits, are excluded.

        4.     Evidence, testimony, argument, or references regarding locations of

  offices, residences, or home states of trial counsel outside the New

  Jersey/Pennsylvania area are excluded.

        5.     Evidence,    testimony,    argument,    or   references   regarding   the

  representation by any defense or plaintiff firm or trial counsel of clients who are not

  parties to this action are excluded.

        6.     The parties agree that deposition testimony shall not be played or read

  during opening statements. The parties agree that deposition testimony may only be

  referred to or cited to during opening statements, including per powerpoint slides



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  summarizing or referencing deposition testimony, if it has been designated and is

  either not objected to or has been admitted into evidence over objections, or where

  there is a good faith basis to believe that the testimony will be admitted if not yet

  presented to the Court for determination of admissibility.

        7.     Evidence, testimony, argument, or references to the “golden rule” are

  excluded.

        8.     Evidence, testimony, argument, or references regarding settlements

  with any parties or codefendants who are not involved in this trial are excluded.

        9.     References to or argument about the absence of corporate

  representatives of any of the parties during all or part of trial are excluded.

        10.    Evidence, testimony, argument, or references regarding Teva’s

  Valsartan/Sacubitril product that was not yet approved or marketed at the time of the

  July 2018 recall.

        11.    Evidence, testimony, argument, or references to the possibility of

  nitrosamine formation or dissipation during the finished dose manufacturing process

  or storage are excluded. This stipulation does not exclude reference to corporate

  testimony and documents confirming that the API contamination carried over to the

  finished dose.

        12.    Defendants cannot argue that TPP Trial Subclass Plaintiffs/Members

  have already or will pass-on costs to insureds (i.e., higher premiums) and Plaintiffs



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  cannot argue or introduce evidence that TPP Trial Subclass Plaintiffs/Members have

  already or will pass along any recovery in this case to insureds (i.e., through lower

  premiums), or that the outcome of this trial will impact the price of drugs.

        13.    Defendants will not argue or suggest that the Plaintiffs are

  comparatively or in any way at fault or caused the damages at issue in any way. This

  stipulation does not preclude Defendants from arguing that the TPP Trial Subclass

  Plaintiffs/Members failed to give adequate notice of their claims, which Plaintiffs

  state is not a comparative fault issue and reserve the right to raise by separate motion.

        14.    Defendants will not argue that Plaintiffs failed to mitigate their

  damages. This stipulation does not preclude evidence or argument that TPP Trial

  Subclass Plaintiffs/Members would have paid for alternative blood pressure

  medications for their insureds if VCDs had not been available on the market, which

  Plaintiffs state is not a mitigation issue and reserve the right to raise by separate

  motion.

        15.    Defendants will not blame physicians or assert that physicians were at

  fault for prescribing valsartan.

        16.    The parties will not inform the jury that certain consumers have been

  reimbursed or the reimbursement amounts unless Plaintiffs “open the door” by

  referencing consumers being injured economically as a result of paying for VCDs.

  This stipulation does not preclude introduction of the facts of the transactions at



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  issue.

           17.   The parties will not inform the jury that certain downstream customers

  of the TPP Trial Defendants have been reimbursed or the reimbursement amounts

  unless Plaintiffs “open the door” by referencing downstream customers of the TPP

  Trial Defendants being injured economically as a result of paying for API or VCDs.

  This stipulation does not preclude introduction of the facts of the transactions at

  issue.

           18.   Defendants will not reference tort reform, a litigation crisis, or

  otherwise make critical comments about lawsuits other than this case, such as stating

  “there are too many lawsuits” or commenting on the effect of a large verdict on

  society.

           19.   Trial counsel and experts will not make anecdotal comments regarding

  family members, friends, or other patients or their personal experiences with

  valsartan or similar medications.

           20.   Defendants cannot argue that this litigation or the claims asserted will

  result in increases in the costs of health care or health products, and Plaintiffs cannot

  argue or introduce evidence that this litigation or the claims asserted will result in

  reduced costs of health care or health products.

           21.   The parties will not unnecessarily present personal anecdotes or

  specific personal experiences irrelevant to the issues at trial, such as overcoming



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  significant obstacles in their personal lives.

        22.     Counsel will not offer expressions of sympathy to Plaintiffs or

  Defendants.

  Dated: February 16, 2024                 Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 16, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                               /s/ Gregory Coates
